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   UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                        PENNYSLVANIA
KRISTY MERTZ,
        Plaintiff

v.                                      NO.: 3-10-CV-02495

AMERICAN CORADIUS
INTERNATIONAL, LLC,
        Defendant

               STIPULATION OF DISMISSAL WITH PREJUDICE

      The undersigned attorneys hereby advise the Court that all claims,

counterclaims and crossclaims by all parties in the above‐entitled cause of

action have been fully compromised and settled. Therefore,

      IT IS HEREBY STIPULATED, through the undersigned attorneys, that

this entire lawsuit may be, and hereby is, dismissed on its merits and with

prejudice, but without costs or disbursements to any of the parties.

      IT IS FURTHER STIPULATED, that without further notice, a Judgment of

Dismissal with Prejudice and upon the merits of all claims, counterclaims and

crossclaims, without costs or disbursements to any of the parties, may be

entered herein.

 /s/ Jason M. Rapa                         /s/Ross S. Enders
Jason M. Rapa, Esq.                       Ross S. Enders, Esquire
Attorney for Plaintiff                    Attorney For Defendant
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     UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
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KRISTY MERTZ,
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AMERICAN CORADIUS
INTERNATIONAL, LLC,
        Defendant



                          ORDER FOR JUDGMENT


      The foregoing Stipulation, having been presented to the Court on behalf

of the above parties,

      IT IS HEREBY ORDERED that the above‐entitled action be, and the same

hereby is, dismissed with prejudice and on its merits and without costs or

disbursements to any party.

      JUDGMENT IS ENTERED.



Dated this     day of              , 2011.



                                     _______________________________________
                                    Judge of District Court




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